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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:10-cr-00249-AWI-BAM
12                                Plaintiff,            STIPULATION AND ORDER
                                                        RESETTING RESTITUTION
13                                                      HEARING
14   v.
                                                        Old Date: June 22, 2015
15                                                      Old Time: 10:00 a.m.
16   EVELYN BRIGGET SANCHEZ,                            New Date: July 27, 2015
     DARLING ARLETTE MONTALVO,                          New Time: 10:00 a.m.
17                                                      Court:    Two
                                  Defendants.                  (Hon. Anthony W. Ishii)
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19
20                                              STIPULATION

21          The United States of America, by and through its counsel of record, and defendants, by and

22 through their counsel of record, hereby stipulate as follows:

23          1.     Defendant Evelyn Brigget Sanchez was sentenced by the Court on April 13, 2015,

24 following conviction after a jury trial of one count of conspiracy to commit mail, wire and bank

25 fraud (18 U.S.C. § 1349), and eleven counts of mail fraud (18 U.S.C. § 1341).
26          2.     Defendant Darling Arlette Montalvo was sentenced by the Court on April 13, 2015,

27 following conviction after a jury trial of one count of conspiracy to commit mail, wire and bank

28 fraud (18 U.S.C. § 1349), ten counts of mail fraud (18 U.S.C. § 1341) and one count of money
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 1 laundering and aiding and abetting (18 U.S.C. §§ 1957 and 2).

 2          2.      Pursuant to 18 U.S.C. § 3664(d)(5), the Court set a hearing on restitution to determine

 3 victims’ losses as to each defendant for June 22, 2015 at 10:00 a.m.

 4          3.      The parties agree that restitution is mandatory as to each defendant, and that the Court

 5 must order restitution as to each defendant pursuant to 18 U.S.C. § 3663A(c)(1)(A)(ii). However,

 6 the parties are still attempting to determine whether they can reach an agreement and stipulation as

 7 to the restitution amount owed by each defendant, respectively, and request additional time to

 8 address this issue. The parties thus request that the restitution hearing for both defendants be reset to
 9 July 27, 2015 at 10:00 a.m. The defendants agree that there is no prejudice to them from the

10 continuance. The parties agree that the continuance will conserve time and resources for the parties

11 and the Court.

12          4.      The agreed restitution hearing on July 27, 2015 will take place more than 90 days

13 after the defendants’ sentencing hearings. The parties agree that pursuant to Dolan v. United States,

14 560 U.S. 605, 608 (2010), the Court may order that each defendant pay restitution pursuant to this

15 stipulation and order, which satisfies the deadline set forth in 18 U.S.C. § 3664(d)(5), with a

16 determination of the amount and apportionment of restitution to occur either by stipulation or at the

17 continued restitution hearing.

18 IT IS SO STIPULATED.

19 DATED:           June 17, 2015
                                           /s/ Kirk E. Sherriff
20                                         HENRY Z. CARBAJAL III
                                           KIRK E. SHERRIFF
21                                         Assistant United States Attorney
22 DATED:           June 17, 2015          /s/ James R. Homola
                                           (authorized on 6/17/15)
23                                         JAMES R. HOMOLA
                                           Counsel for Defendant
24                                         EVELYN BRIGGET SANCHEZ
25 DATED:           June 17, 2015          /s/ Eric V. Kersten
                                           (authorized on 6/16/15)
26                                         ERIC V. KERSTEN
                                           Counsel for Defendant
27                                         DARLING ARLETTE MONTALVO
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 1
                                                  ORDER
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            IT IS SO FOUND AND ORDERED this 18th day of June, 2015. The Court orders
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     defendants Evelyn Brigget Sanchez and Darling Arlette Montalvo to pay restitution, as restitution is
 4
     mandatory pursuant to their respective convictions at trial for conspiracy, mail fraud, and money
 5
     laundering, and 18 U.S.C. § 3663A(c)(1)(A)(ii). The remaining issue of the amount and
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     apportionment of restitution shall be resolved at or before a restitution hearing on July 27, 2015 at
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     10:00 a.m.
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 9 IT IS SO ORDERED.

10 Dated: June 18, 2015

11                                               SENIOR DISTRICT JUDGE

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